Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 1 of 245




                 EXHIBIT F
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 2 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 3 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 4 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 5 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 6 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 7 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 8 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 9 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 10 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 11 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 12 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 13 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 14 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 15 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 16 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 17 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 18 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 19 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 20 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 21 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 22 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 23 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 24 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 25 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 26 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 27 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 28 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 29 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 30 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 31 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 32 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 33 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 34 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 35 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 36 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 37 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 38 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 39 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 40 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 41 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 42 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 43 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 44 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 45 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 46 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 47 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 48 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 49 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 50 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 51 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 52 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 53 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 54 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 55 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 56 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 57 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 58 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 59 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 60 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 61 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 62 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 63 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 64 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 65 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 66 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 67 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 68 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 69 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 70 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 71 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 72 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 73 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 74 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 75 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 76 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 77 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 78 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 79 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 80 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 81 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 82 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 83 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 84 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 85 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 86 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 87 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 88 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 89 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 90 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 91 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 92 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 93 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 94 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 95 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 96 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 97 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 98 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 99 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 100 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 101 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 102 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 103 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 104 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 105 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 106 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 107 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 108 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 109 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 110 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 111 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 112 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 113 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 114 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 115 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 116 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 117 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 118 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 119 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 120 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 121 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 122 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 123 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 124 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 125 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 126 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 127 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 128 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 129 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 130 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 131 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 132 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 133 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 134 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 135 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 136 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 137 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 138 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 139 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 140 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 141 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 142 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 143 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 144 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 145 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 146 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 147 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 148 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 149 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 150 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 151 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 152 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 153 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 154 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 155 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 156 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 157 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 158 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 159 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 160 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 161 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 162 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 163 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 164 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 165 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 166 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 167 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 168 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 169 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 170 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 171 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 172 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 173 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 174 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 175 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 176 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 177 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 178 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 179 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 180 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 181 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 182 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 183 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 184 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 185 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 186 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 187 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 188 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 189 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 190 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 191 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 192 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 193 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 194 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 195 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 196 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 197 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 198 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 199 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 200 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 201 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 202 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 203 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 204 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 205 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 206 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 207 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 208 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 209 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 210 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 211 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 212 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 213 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 214 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 215 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 216 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 217 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 218 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 219 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 220 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 221 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 222 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 223 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 224 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 225 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 226 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 227 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 228 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 229 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 230 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 231 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 232 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 233 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 234 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 235 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 236 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 237 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 238 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 239 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 240 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 241 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 242 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 243 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 244 of 245
Case 1:23-cr-00490-SHS   Document 223-6   Filed 02/28/24   Page 245 of 245
